        Case 3:94-cr-03135-LC        Document 582         Filed 10/19/05      Page 1 of 1




                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF FLORIDA
                              PENSACOLA DIVISION

UNITED STATES OF AMERICA

       VS                                                          CASE NO. 3:94cr3135LAC

KELVIN DAVENPORT

                                 REFERRAL AND ORDER

Referred to Judge Lacey Collier on October 11, 2005
Motion/Pleadings: MOTION FOR POST TRIAL RELIEF PURSUANT TO TITLE 18 U.S.C.
3582 TO MODIFY SENTENCING ORDER AND TO PROVIDE AN UPDATED
PRESENTENCE INVESTIGATION REPORT
Filed byDEFENDANT PRO SE                  on 9/27/05      Doc.# 581
RESPONSES:
                                          on              Doc.#
                                          on              Doc.#
        Stipulated            Joint Pldg.
        Unopposed             Consented
                                          WILLIAM M. McCOOL, CLERK OF COURT

                                               /s//MaryMaloy-Wells
LC (1 OR 2)                                    Deputy Clerk: Mary Maloy-Wells

                                            ORDER
Upon   consideration      of   the   foregoing,      it   is   ORDERED     this   19 th   day   of
October, 2005, that:
(a) The relief requested is DENIED.
(b) Booker and FanFan are not retroactive.




                                                            s /L.A. Collier
                                                            LACEY A. COLLIER
                                                      United States District Judge

Entered On Docket:                    By:
Rules 58 & 79(a) FRCP or 32(d)(1) & 55 FRCRP
Copies sent to:




                               Document No.
